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MELINDA HAAG (CABN 132612) a r os ,
United States Attorney we ee
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RICHARD W. WIEKING /
CLERK, U.S. DISTRICT COURT O
NORTHERN DISTRICT OF CALIFORNIA

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

 

 

SAN FRANCISCO DIVISION
UNITED STATES OF AMERICA ) No.
| )
v. ) VIOLATIONS: Title 18, United States Code, Section
) 1962(d) — Racketeering Conspiracy; Title 18, United
(1) VLADIMIR HANDL, ) States Code, Section 1962(c) — Racketeering; Title
(2) MICHAEL ROSE, ) 18, United States Code, Section 1956(h) - Money
(3) PETER SCALISE, ) Laundering Conspiracy; Title 18, United States Code,
(4) PML CLUBS, INC., ) Section 1956(a)(3)(A) & (B) — Money Laundering;
(5) DAVID;GAITHER, ) Title 18, United States Code, Section 641 — Theft of
(6) JONATHAN FERRARO, ) United States Property; Title 21, United States Code,
(7) RICHARD LEYLAND, ) Section 846 — Narcotics Conspiracy; Title 18, United
(8) EDWIN, HETHERTON, and ) States Code, Section 2 — Aiding & Abetting; Title 18,
(9) PAUL FINK, ) United States Code, ‘Sections 1963, 982(a)(1), and
) 981(a)(1)(©), Title 21, United States Code, Section
Defendants. ) 853(a)(1) & (2), and Title 28, United States Code,
) Section 2461(c) — Forfeiture
)
) SAN FRANCISCO VENUE
)
) UNDER SEAL
INDICTMENT
The Grand Jury charges: |

COUNT ONE: (18 U.S.C. § 1962(d) — Racketeering Conspiracy)

Introductory Allegations
At all times relevant to this Indictment:

1. Defendant VLADIMIR HANDL was a businessman in Myrtle Beach, South Carolina,

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with a variety of business interests, including interests in restaurants, night clubs, and personal fitness.
HANDL operated and controlled, among other entities, VIP Group, LLC, International VH, LLC, and
Heat Lounge, LLC. Defendant MICHAEL ROSE, like HANDL, was a businessman in the Myrtle
Beach area, with interests in, among other things, restaurants, night clubs, and strip clubs. ROSE was
the principal owner of defendant PML CLUBS, INC. PML CLUBS, INC., was a Delaware corporation
with ROSE in South Carolina as its registered agent. ROSE, through PML CLUBS, INC., owned the
rights to use the name “The Gold Club” in connection with the operation of strip clubs. ROSE, through
PML CLUBS, INC., licensed the name “The Gold Club” to franchisees throughout the United States.
ROSE, through PML CLUBS, INC., also directly operated a variety of strip clubs on the East Coast of
the United States, including The Gold Clubs in Myrtle Beach, Hilton Head, and Wellford in South
Carolina, The Gold Club in Wilmington, Delaware, and The Gold Club in Bedford, New Hampshire. In
addition to PML CLUBS, INC., ROSE also operated and.controlled, among other entities, Explosive
Clubs, Inc., Nightclub and Restaurant Services, LLC, Legacy Entertainment, East Coast Restaurant &
Nightclubs, and Micro Management Group, LLC.

2. Defendant DAVID GAITHER was an associate of MICHAEL ROSE and helped manage
some of ROSE’s strip clubs. Defendant JONATHAN F. ERRARO was also an associate of ROSE and
owned and operated several clubs of his own in Wisconsin. Defendant PETER SCALISE was an
associate of HANDL who, at one time, operated a restaurant with HANDL. SCALISE was also a
brother-in-law of Edwin Hetherton, with whom he engaged in fraudulent real estate transactions.

The Racketeering Enterprise

3. Defendants VLADIMIR HANDL, MICHAEL ROSE, PETER SCALISE, PML CLUBS,
INC., DAVID GAITHER, and JONATHAN FERRARO, and the entities operated and controlled by
HANDL and ROSE, including VIP Group, LLC, International VH, LLC, and Heat Lounge, LLC,
Explosive Clubs, Inc., Nightclub and Restaurant Services, LLC, Legacy Entertainment, East Coast
Restaurant & Nightclubs, and Micro Management Group, LLC, together with others known and
unknown, comprised the “Handl Enterprise.” The Handl Enterprise, including its leadership, members,
and associates, in the Northern District of California and elsewhere, constituted an “enterprise” as

defined in Title 18, United States Code, Section 1961(4), that is, a group of individuals and entities

 

 

 
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associated in fact. The enterprise constituted an ongoing organization whose members functioned as a

continuing unit for a common purpose of achieving the objectives of the enterprise. The enterprise
engaged in, and its activities affected, interstate and foreign commerce.
Purposes of the Enterprise
4, The purposes of the Handi Enterprise included but were not limited to the following:

a. Obtaining profits and property for its members and associates through the
commission of criminal acts, including, but not limited to, laundering money;

b. Promoting and enhancing the enterprise and the activities of its members and
associates;

c. Providing assistance to other enterprise members and associates in order to
hinder, obstruct, and prevent law enforcement officers from identifying the offenders, apprehending the

offenders, and successfully prosecuting and punishing the offenders.
Means and Methods of the Enterprise
5. Among the means and methods by which the members and associates of the Handl
Enterprise conducted and participated in the conduct of the affairs of the enterprise were the following:
a. The members and associates of the Hand] Enterprise sought to establish
relationships with individuals they believed were engaged in criminal activity in order to cultivate
clients for the Handl Enterprise’s mioney laundering services.
b. The members and associates of the Handl Enterprise created shell business
entities in order to use these entities for their money laundering activities.
| c. The members and associates of the Handl Enterprise created documents
containing false information, such as fraudulent invoices, false contracts, and other fraudulent business
records, in order to facilitate their money laundering activities.
|, The members and associates of the Hand] Enterprise used assets and property of
PML CLUBS, INC., and other entities operated and controlled by HANDL and ROSE in order to
facilitate their money laundering activities.
f. The members and associates of the Handl Enterprise solicited investments from

individuals they believed were engaged in criminal activity.

 
 

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The Racketeering Conspiracy

6. From at least in or about 2011, up through and including the date of this Indictment, in

the Northern District of California and elsewhere, the defendants,
(1) VLADIMIR HANDL,
(2) MICHAEL ROSE,
(3) PETER SCALISE,
(4) PML CLUBS, INC.,
(5) DAVID GAITHER, and
(6) JONATHAN FERRARO,
and others known and unknown, being persons employed by and associated with the enterprise
described above, namely, the Hand] Enterprise, which enterprise was engaged in, and the activities of
which affected, interstate and foreign commerce, unlawfully and knowingly combined, conspired,
confederated, and agreed together and with each other to conduct and participate, directly and indirectly,
in the conduct of the affairs of.the enterprise through a pattern of racketeering activity, which pattern of
racketeering consisted of:
a. multiple acts indictable under Title 18, United States Code, Sections 1956 and
1344; and
b. offenses involving dealing in a controlled substance, in violation of Title 18,

United States Code, Sections 841(a)(1) and 846.

7. | It was part of the conspiracy that each defendant agreed that a conspirator would commit
at least two acts of racketeering activity in the conduct of the affairs of the enterprise.

| All in violation of Title 18, United States Code, Section 1962(d).

COUNT TWO: (18 U.S.C. § 1962(c) — Racketeering) .

8. Paragraphs 1 through 5 of this Indictment are realleged, repeated, and incorporated by
reference as though fully set forth herein.

9. From at least in or about 2011, up through and including the date of this Indictment, in
the Northern District of California and elsewhere, the defendants,

(1) VLADIMIR HANDL,

 
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(2) MICHAEL ROSE,
(3) PETER SCALISE, and
(4) PML CLUBS, INC.,

and others known and unknown, being persons employed by and associated with the enterprise
described above, namely, the Hand! Enterprise, which enterprise was engaged in, and the activities of
which affected, interstate and foreign commerce, unlawfully and knowingly conducted and participated,
directly and indirectly, in the conduct of the affairs of that enterprise through a pattern of racketeering
activity, that is, through the commission of the acts of racketeering set forth in Paragraphs 10 through 12
of this Indictment as Racketeering Acts 1 through 118.

| The Pattern of Racketeering Activity

| 10. The pattern of racketeering activity, as defined in Title 18, United States Code, Sections
1961(1) and 1961(5), consisted of the following acts:
Racketeering Acts 1 Through 13
(Money Laundering)
11. Defendants VLADIMIR HANDL and PETER SCALISE committed the following acts of

racketeering, which constitute Racketeering Acts 1 through 13:

a On or about the dates set forth in the following table, in the Northern District of
California and elsewhere, the defendants,

VLADIMIR HANDL and

PETER SCALISE,
and others known and unknown, unlawfully and knowingly, and with the intent to promote the carrying
on of specified unlawful activity and to conceal and disguise the nature, location, source, ownership, and
control of property believed to be the proceeds of specified unlawful activity, to wit, concealing property
from a court in connection with a case under Title 11, in violation of Title 18, United States Code,

Section 152, conducted and attempted to conduct a financial transaction, to wit, wire transfers, involving

property represented to be the proceeds of specified unlawful activity, and property used to conduct and

facilitate specified unlawful activity, in violation of Title 18, United States Code, Sections 1956(a)(3)(A)
& (B) and 2, as described in the following table:

 
 

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Racketeering | Date of Financial Type of Amount of

Act Transaction Financial Transaction Financial Transaction
1 January 17, 2012 Wire Transfer . $13,500
2 January 23, 2012 ~ Wire Transfer $22,500
3 January 30, 2012 Wire Transfer $22,500
4 February 6, 2012 Wire Transfer $22,500
5 February 13, 2012 Wire Transfer $22,500
6 February 21, 2012 Wire Transfer $22,500
7 February 27, 2012 Wire Transfer $22,500
8 March 5, 2012 ~ Wire Transfer $22,500
9 | March 12, 2012 Wire Transfer $22,500
10 March 19, 2012 Wire Transfer $22,500
11 March 26, 2012 Wire Transfer $22,500
12 April 3, 2012 Wire Transfer $22,500
130 April 9, 2012 Wire Transfer $9,000

 

 

 

 

 

 

Racketeering Acts 14 Through 118
| (Money Laundering)

12. Defendants VLADIMIR HANDL, MICHAEL ROSE, PETER SCALISE, and PML
CLUBS, INC., committed the following acts of racketeering, which constitute Racketeering Acts 14
through 118: .

a. On or about the dates set forth in the following table, in the Northern District of
California and elsewhere, the defendants,
(1) VLADIMIR HANDL,
(2) MICHAEL ROSE,
(3) PETER SCALISE, and
(4) PML CLUBS, INC.,

and others known and unknown, unlawfully and knowingly, and with the intent to conceal and disguise

 

 
 

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| the nature, location, source, ownership, and control of property believed to be the proceeds of specified

unlawful activity, to wit, distribution of a controlled substance and possession of a controlled substance

with intent to distribute, in violation of Title 21, United States Code, Section 841(a)(1), and conspiracy

to distribute.a controlled substance and to possess a controlled substance with intent to distribute, in

violation of Title 21, United States Code, Section 846, conducted and attempted to conduct a financial

transaction, to wit, transfers of checks that were subsequently negotiated and wire transfers, involving

States Code, Sections 1956(a)(3)(B) and 2, as described in the following table:

| property represented to be the proceeds of specified unlawful activity, in violation of Title 18, United

 

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Racketeering | Date of Financial Type of Amount of
Act Transaction Financial Transaction Financial Transaction
14 June 7, 2012 Transfer of Check $27,500
15 June 11, 2012 Transfer of Check $25,000
16 June 14, 2012 Transfer of Check $23,975
17 June 15, 2012 Transfer of Check $13,525
18 June 25, 2012 Transfer of Check $21,140
19 June 28, 2012 Transfer of Check $26,850
20 July 3, 2012 Transfer of Check $18,950
21 July 11, 2012 Transfer of Check $20,050
22 July 16, 2012 Transfer of Check $12,050
23 July 16, 2012 Transfer of Check $13,400
24 July 26, 2012 Transfer of Check $22,560
25 July 22, 2012 Transfer of Check $24,750
26 July 25, 2012 Transfer of Check $19,500
27 July 25,2012 Transfer of Check $19,400
28 July 27, 2012 Transfer of Check $8,060
29 July 30, 2012 Transfer of Check $5,500
30 August 2, 2012 Transfer of Check $11,520

 

 

 

 

 

 
 

 

 

 

 

Racketeering

Date of Financial

Type of

Amount of

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Act Transaction Financial Transaction Financial Transaction
31 August 5, 2012 Transfer of Check $14,380
32 August 10, 2012 Transfer of Check $8,050
33 August 13, 2012 Transfer of Check $9,024
34 August 15, 2012 Transfer of Check $14,816
35 August 22, 2012 Transfer of Check $14,424
36 August 27, 2012 Transfer of Check $18,900
37 August 31, 2012 Transfer of Check $23,700
38 September 4, 2012 Transfer of Check $9,000
39 September 7, 2012 Transfer of Check $18,600
40 September 10, 2012 Transfer of Check $9,000
41 September 17, 2012 Transfer of Check $18,720
42 September 20, 2012 Transfer of Check $15,800
43 September 21, 2012 Transfer of Check $9,000
44 September 24, 2012 Transfer of Check $16,400
45 September 24, 2012 Transfer of Check $8,500
46 September 28, 2012 Transfer of Check $18,044
47 October 4, 2012 Transfer of Check $18,000
48 | October 8, 2012 Transfer of Check $19,750
49 October 13, 2012 Transfer of Check $29,400
50 October 19, 2012 Transfer of Check $9,000
51 October 22, 2012 Transfer of Check $20,400
52 October 25, 2012 Transfer of Check $10,200
53 October 30, 2012 Transfer of Check $14,125
54 November 5, 2012 Transfer of Check $14,125

November 9, 2012 Transfer of Check $24,000

 

 

 
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Racketeering | Date of Financial Type of Amount of

Act Transaction Financial Transaction | Financial Transaction

56 November 16, 2012 Transfer of Check $22,500
57 November 26, 2012 Transfer of Check $21,800
58 November 29, 2012 Transfer of Check $18,500
59 December 4, 2012 Transfer of Check $34,075
60 December 5, 2012 Transfer of Check $14,125
61 December 12, 2012 Transfer of Check $25,640
62 December 24, 2012 Transfer of Check $24,450
63 December 28, 2012 Transfer of Check $26,850
64 December 31, 2012 Transfer of Check $27,225
65 January 2, 2013 Transfer of Check $16,850
66 January 18, 2013 Transfer of Check $2,850
67 January 28, 2013 Transfer of Check $2,850
68 February 4, 2013 Transfer of Check $8,285
69 February 8, 2013 Transfer of Check $35,550
70 February 8, 2013 Transfer of Check $7,500
71 February 11, 2013 Transfer of Check $25,000
72 February 11, 2013 Transfer of Check $19,500
B February 11, 2013 Transfer of Check $43,500
74 February 12, 2013 Transfer of Check $15,750
75 February 15, 2013 Transfer of Check $7,750
76 February 20, 2013 Transfer of Check $28,450
77 March 22, 2013 Transfer of Check $5,850
78 April 10, 2013 Transfer of Check $1,150
79 June 24, 2014 Transfer of Check $20,000
80, Tune 30, 2014 Transfer of Check $15,500

 

 

 
 

1 || Racketeering

Date of Financial

Type of

Amount of

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2 Act Transaction Financial Transaction Financial Transaction
3 81 July 1, 2014 Transfer of Check $25,000
4 82 July 7, 2014 Transfer of Check $25,000
5 83 July 7, 2014 Transfer of Check $21,000
6 84 July 7, 2014 Transfer of Check $35,000
7 85 July 8, 2014 Transfer of Check $25,000
8 86 July 10, 2014 Transfer of Check $25,000
9 87 July 14, 2014 Wire Transfer $23,500
10 88 July 14, 2014 Transfer of Check $35,000
i 89 July 15, 2014 Transfer of Check $16,000
12 90 July 21, 2014 Transfer of Check $39,250
13 91 July 22, 2014 Transfer of Check $25,000
14 92 July 23, 2014 Transfer of Check $25,000
I5 93 July 28, 2014 Transfer of Check ~ $25,000
16 94 July 28, 2014 Transfer of Check $25,750
M7 95 August 4, 2014 Transfer of Check $35,000
18 96 August 4, 2014 Transfer of Check $23,500
19 97 August 12, 2014 Transfer of Check $30,000
20 98 August 15, 2014 Transfer of Check $25,000
21 99 August 15, 2014 Transfer of Check $30,000
22 100 August 17, 2014 Transfer of Check $16,500
2 101 August 20, 2014 Transfer of Check $30,000
*4 102 August 21, 2014 Transfer of Check $25,000
* 103 August 25, 2014 Transfer of Check $31.250
° 104 August 26, 2014 Wire Transfer $20,000
a 105 September 12, 2014 Transfer of Check $40,000

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Racketeering | Date of Financial Type of Amount of

Act Transaction Financial Transaction Financial Transaction

106 September 13, 2014 Transfer of Check $10,000
107 September 15, 2014 Transfer of Check $25,000
108 September 16, 2014 Transfer of Check ~ $20,000
109 September 19, 2014 Transfer of Check $30,000
110 September 25, 2014 Transfer of Check $15,000
11] September 28, 2014 Transfer of Check $10,000
112 September 29, 2014 Transfer of Check $20,000
113 September 29, 2014 Transfer of Check $20,000
114 October 3, 2014 Transfer of Check $17,500
115 October 15, 2014 Transfer of Check $10,000
116 December 1, 2014 Transfer of Check $3,250
117 December 12, 2014 Transfer of Check $5,000
118 December 31, 2014 Transfer of Check $5,000

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1962(c).

13.
reference as though fully set forth herein.
14.

COUNT THREE: (18 U.S.C. § 1956(h) - Money Laundering Conspiracy)

the Northern District of California and elsewhere, the defendants,

(1) VLADIMIR HANDL,
(2) MICHAEL ROSE,
(3) PETER SCALISE,
(4) PML CLUBS, INC.,
(5) DAVID GAITHER, and
(6) JONATHAN FERRARO,

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Paragraphs | through 4 of this Indictment are realleged, repeated, and incorporated by

From at least in or about 2011, up through and including the date of this Indictment, in

 

 
 

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and others known and unknown, unlawfully and knowingly combined, conspired, confederated, and
agreed together and with each other to violate Title 18, United States Code, Section 1956(a)(3)(A) &
(B).

15. It was a part and an object of the conspiracy that the defendants,

(1) VLADIMIR HANDL,
(2) MICHAEL ROSE,
(3) PETER SCALISE,
(4) PML CLUBS, INC.,
(5) DAVID GAITHER, and
(6) JONATHAN FERRARO,

and others known and unknown, with the intent to promote the carrying on of specified unlawful activity
and to conceal and disguise the nature, location, source, ownership, and control of property believed to
be the proceeds of specified unlawful activity, to wit, concealing property from a court in connection
with a case under Title 11, in violation of Title 18, United States Code, Section 152, distribution of a
controlled substance and possession of a controlled substance with intent to distribute, in violation of
Title 21, United States Code, Section 841(a)(1), and conspiracy to distribute a controlled substance and
to possess a controlled substance with intent to distribute, in violation of Title 21, United States Code,
Section 846, unlawfully and knowingly would and did conduct and attempt to conduct a financial
transaction involving property represented to be the proceeds of specified unlawful activity, and
property used to conduct and facilitate specified unlawful activity, in violation of Title 18, United States
Code, Section 1956(a)(3)(A) & (B).

All in violation of Title 18, United States Code, Section 1956(h).
COUNTS FOUR THROUGH SIXTEEN: (18 U.S.C. §§ 1956(a)(3)(A) & (B) and 2 — Money
Laundering)

16. | Onor about the dates set forth in the following table, in the Northern District of
California and elsewhere, the defendants,

VLADIMIR HANDL and
PETER SCALISE,

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and others known and unknown, unlawfully and knowingly, and with the intent to promote the carrying
on of specified unlawful activity and to conceal and disguise the nature, location, source, ownership, and
control of property believed to be the proceeds of specified unlawful activity, to wit, concealing property
from a court in connection with a case under Title 11, in violation of Title 18, United States Code,
Section 152, conducted and attempted to conduct a financial transaction, to wit, wire transfers,
involving property represented to be the proceeds of specified unlawful activity, and property used to

conduct and facilitate specified unlawful activity, as described in the following table:

 

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Count | Date of Financial Type of Amount of
Transaction Financial Transaction Financial Transaction
4 January 17, 2012 Wire Transfer $13,500
5 January 23, 2012 Wire Transfer $22,500
6 January 30, 2012 Wire Transfer $22,500
7 February 6, 2012 Wire Transfer $22,500
8 February 13, 2012 Wire Transfer $22,500
9 | February 21, 2012 Wire Transfer $22,500
10 February 27, 2012 Wire Transfer $22,500
11 March 5, 2012 Wire Transfer $22,500
12. March 12, 2012 Wire Transfer $22,500
13 March 19, 2012 Wire Transfer $22,500
14 March 26, 2012 Wire Transfer $22,500
IS April 3, 2012 Wire Transfer $22,500
16 April 9, 2012 Wire Transfer $9,000

 

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1956(a)(3)(A) & (B) and 2. -
COUNTS SEVENTEEN THROUGH ONE HUNDRED TWENTY-ONE: (18 U.S.C. §§ 1956(a)(3)(B)

and 2 — Money Laundering)

17. Onor about the dates set forth in the following table, in the Northern District of

California and elsewhere, the defendants,

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(1) VLADIMIR HANDL,
(2) MICHAEL ROSE,
(3) PETER SCALISE, and
(4) PML CLUBS, INC.,

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and others known and unknown, unlawfully and knowingly, and with the intent to conceal and disguise

the nature, location, source, ownership, and control of property believed to be the proceeds of specified

unlawful activity, to wit, distribution of a controlled substance and possession of a controlled substance

with intent to distribute, in violation of Title 21, United States Code, Section 841(a)(1), and conspiracy

to distribute a controlled substance and to possess a controlled substance with intent to distribute, in

violation of Title 21, United States Code, Section 846, conducted and attempted to conduct a financial

transaction, to wit, transfers of checks that were subsequently negotiated and wire transfers, involving

property represented to be the proceeds of specified unlawful activity, as described in the following

 

 

 

 

 

 

 

 

 

 

 

 

 

table:
Count Date of Financial Type of Amount of
Transaction Financial Transaction Financial Transaction

17 June 7, 2012 Transfer of Check $27,500
18 June 11, 2012 Transfer of Check $25,000
19 June 14, 2012 Transfer of Check $23,975
20 June 15, 2012 Transfer of Check $13,525

21 June 25, 2012 Transfer of Check $21,140
22 June 28, 2012 Transfer of Check $26,850
23 July 3, 2012 Transfer of Check $18,950
24 July 11, 2012 Transfer of Check $20,050
25 July 16, 2012 Transfer of Check $12,050
26 July 16, 2012 Transfer of Check $13,400
27 July 26, 2012 Transfer of Check ~ $22,560
28 July 22, 2012 Transfer of Check $24,750

 

 

 

 

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Count Date of Financial Type of Amount of
Transaction Financial Transaction Financial Transaction
29 July 25, 2012 Transfer of Check $19,500
30 July 25,2012 Transfer of Check $19,400
31 July 27, 2012 Transfer of Check $8,060
32 July 30, 2012 Transfer of Check $5,500
33 August 2, 2012 Transfer of Check $11,520
34 August 5, 2012 Transfer of Check $14,380
35 August 10, 2012 Transfer of Check $8,050
36 August 13, 2012 Transfer of Check $9,024
37 August 15, 2012 Transfer of Check $14,816:
38 August 22, 2012 Transfer of Check $14,424
39 August 27, 2012 Transfer of Check $18,900
40 August 31, 2012 Transfer of Check $23,700
41 September 4, 2012 Transfer of Check $9,000
42 September 7, 2012 Transfer of Check $18,600
43 September 10, 2012 Transfer of Check $9,000
44 September 17, 2012 Transfer of Check $18,720
45 September 20, 2012 Transfer of Check $15,800
46 September 21, 2012 Transfer of Check $9,000
47 September 24, 2012 Transfer of Check $16,400
48 September 24, 2012 Transfer of Check $8,500
49 September 28, 2012 Transfer of Check $18,044
50 "October 4, 2012 Transfer of Check ~ $18,000
51 October 8, 2012 ~ Transfer of Check $19,750
52 October 13, 2012 Transfer of Check $29,400
53 October 19, 2012 Transfer of Check $9,000

 

 

 

 

 

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Count Date of Financial Type of Amount of
| Transaction | Financial Transaction Financial Transaction
54 October 22, 2012 Transfer of Check $20,400
55 October 25, 2012 Transfer of Check $10,200
56 October 30, 2012 Transfer of Check $14,125
57 November 5, 2012 Transfer of Check $14,125
58 November 9, 2012 Transfer of Check $24,000
59 November 16, 2012 Transfer of Check $22,500
60 November 26, 2012 Transfer of Check $21,800
61 November 29, 2012 Transfer of Check $18,500
62 December 4, 2012 Transfer of Check $34,075
63 December 5, 2012 Transfer of Check $14,125
64 December 12, 2012 Transfer of Check $25,640
65 December 24, 2012 Transfer of Check $24,450
66 December 28, 2012 Transfer of Check $26,850
67 December 31, 2012 Transfer of Check $27,225
68 January 2, 2013 Transfer of Check $16,850
69 January 18, 2013 Transfer of Check $2,850
70 January 28, 2013 Transfer of Check $2,850
71 February 4, 2013 Transfer of Check $8,285
72 February 8, 2013 Transfer of Check $35,550
B February 8, 2013 Transfer of Check $7,500
74 February 11, 2013 Transfer of Check $25,000
75 February 11, 2013 Transfer of Check $19;500
76 February 11, 2013 Transfer of Check $43,500
77 February 12, 2013 Transfer of Check $15,750
78 February 15, 2013 Transfer of Check ~ $7,750

 

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Count Date of Financial Type of Amount of
Transaction Financial Transaction Financial Transaction
79 February 20, 2013 Transfer of Check $28,450 ||
80 March 22, 2013 Transfer of Check $5,850
81 April 10, 2013 Transfer of Check $1,150
82 June 24, 2014 Transfer of Check $20,000
83 June 30, 2014 Transfer of Check - $15,500
84 July 1, 2014 Transfer of Check $25,000
85 July 7, 2014 Transfer of Check $25,000
86 July 7, 2014 Transfer of Check $21,000
87 July 7, 2014 Transfer of Check $35,000
88 July 8, 2014 Transfer of Check $25,000
89 July 10, 2014 Transfer of Check $25,000
90 July 14, 2014 Wire Transfer $23,500
91 July 14, 2014 Transfer of Check $35,000
92 July 15, 2014 Transfer of Check $16,000
93 July 21, 2014 Transfer of Check $39,250
94 July 22, 2014 Transfer of Check $25,000
95 July 23, 2014 Transfer of Check $25,000
96 July 28, 2014 Transfer of Check $25,000
97 July 28, 2014 Transfer of Check $25,750
98 August 4, 2014 Transfer of Check $35,000
99 August 4, 2014 Transfer of Check $23,500
100 August 12, 2014 Transfer of Check $30,000
101 August 15, 2014 Transfer of Check $25,000
102 August 15, 2014 Transfer of Check $30,000
103 August 17, 2014 Transfer of Check $16,500

 

 

 

 

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Count Date of Financial | Type of Amount of
Transaction Financial Transaction Financial Transaction

104 August 20, 2014 Transfer of Check $30,000
105 August 21, 2014 Transfer of Check $25,000
106 August 25, 2014 Transfer of Check $31.250
107 August 26, 2014 Wire Transfer $20,000
108 September 12, 2014 Transfer of Check $40,000
109 September 13, 2014 Transfer of Check $10,000
110 September 15, 2014 Transfer of Check $25,000
111 September 16, 2014 Transfer of Check $20,000
112 September 19, 2014 Transfer of Check $30,000
113 September 25, 2014 Transfer of Check $15,000
114 September 28, 2014 Transfer of Check $10,000
115 September 29, 2014 Transfer of Check $20,000
116 September 29, 2014 Transfer of Check $20,000
117 October 3, 2014 Transfer of Check $17,500
118 October 15, 2014 Transfer of Check $10,000
119 December 1, 2014 Transfer of Check $3,250
120 December 12, 2014 Transfer of Check $5,000

December 31, 2014 Transfer of Check $5,000

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All in violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

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COUNT ONE HUNDRED TWENTY-TWO: (18 U.S.C. § 1956(h) — Money Laundering Conspiracy)
18. From at least in or about 2010, up through and including the date of this Indictment, in
the Northern District of California and elsewhere, the defendants,
RICHARD LEYLAND and
EDWIN HETHERTON,
and others known and unknown, unlawfully and knowingly combined, conspired, confederated, and
agreed together and with each other to violate Title 18, United States Code, Section 1956(a)(3)(A) &
(B).
19. . It was a part and an object of the conspiracy that the defendants,
RICHARD LEYLAND and
EDWIN HETHERTON,
and others known and unknown, with the intent to promote the carrying on of specified unlawful activity
and to conceal and disguise the nature, location, source, ownership, and control of property believed to _
be the proceeds of specified unlawful activity, to wit, concealing property from a court in connection
with a case under Title 11, in violation of Title 18, United States Code, Section 152, unlawfully and
knowingly would and did conduct and attempt to conduct a financial transaction involving property
represented to be the proceeds of specified unlawful activity, and property used to conduct and facilitate
specified unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(3)(A) & (B).
All in violation of Title 18, United States Code, Section 1956(h).
COUNTS ONE HUNDRED TWENTY-THREE THROUGH ONE HUNDRED TWENTY-FIVE: (18
U.S.C. §§ 1956(a)(3)(A) & (B) and 2 —- Money Laundering)
20. | Onorabout the dates set forth in the following table, in the Northern District of —
California and elsewhere, the defendant,
EDWIN HETHERTON,
and others known and unknown, unlawfully and knowingly, and with the intent to promote the carrying
on of specified unlawful activity and to conceal and disguise the nature, location, source, ownership, and
control of property believed to be the proceeds of specified unlawful activity, to wit, concealing property

from a court in connection with a case under Title 11, in violation of Title 18, United States Code,

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Section 152, conducted and attempted to conduct a financial transaction, to wit, wire transfers, involving
property represented to be the proceeds of specified unlawful activity, and property used to conduct and

facilitate specified unlawful activity, as described in the following table:

 

 

 

 

Count Date of Financial Type of Amount of
| Transaction Financial Transaction Financial Transaction
123 March 2, 2010 Wire Transfer | $45,750
124 March 4, 2010 Wire Transfer $40,000
125 March 12, 2010 Wire Transfer , $35,000

 

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1956(a)(3)(A) & (B) and 2.

COUNTS ONE HUNDRED TWENTY-SIX THROUGH ONE HUNDRED TWENTY-NINE: (18
U.S.C. §§ 1956(a)(3)(A) & (B) and 2 - Money Laundering)

21. ' Onor about the dates set forth in the following table, in the Northern District of
California and elsewhere, the defendant,

RICHARD LEYLAND,

and others known and unknown, unlawfully and knowingly, and with the intent to promote the carrying
on of specified unlawful activity and to conceal and disguise the nature, location, source, ownership, and
control of property believed to be the proceeds of specified unlawful activity, to wit, concealing property
from a court in connection with a case under Title 11, in violation of Title 18, United States Code,
Section 152, conducted and attempted to conduct a financial transaction, to wit, wire transfers, involving
property represented to be the proceeds of specified unlawful activity, and property used to conduct and
facilitate specified unlawful activity, as described in the following table:

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Count Date of Financial Type of Amount of
Transaction Financial Transaction Financial Transaction
126 September 27, 2010 Wire Transfer $48,000
127 October 4, 2010 Wire Transfer $52,000
128 October 13, 2010 Wire Transfer $65,000
(129 December 22, 2010 Wire Transfer - $20,000

 

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1956(a)(3)(A) & (B) and 2.

COUNT ONE HUNDRED THIRTY: (18 U.S.C. §§ 641 and 2 — Theft of United States Property)

22. From at least in or about early 2010, up through and including in or about July 2011, in

the Northern District of California and elsewhere, the defendant,
EDWIN HETHERTON, .

and others known and unknown, unlawfully and knowingly embezzled, stole, purloined, and knowingly
converted to his use and the use of another money of the United States and a department and agency
thereof, to wit, HETHERTON stole approximately $29,000 of undercover money of the United States.

All in violation of Title 18, United States Code, Sections 641 and 2.
COUNT ONE HUNDRED THIRTY-ONE: (18 U.S.C. §§ 641 and 2 — Theft of United States Property)

23.  Fromat least in or about early September 2010, up through and including on or about
October 22, 2010, in the Northern District of California and elsewhere, the defendant,

RICHARD LEYLAND,

and others known and unknown, unlawfully and knowingly embezzled, stole, purloined, and knowingly
converted to his use and the use of another money of the United States and a department and agency
thereof, to wit, HETHERTON stole approximately $60,000 of undercover money of the United States.

All in violation of Title 18, United States Code, Sections 641 and 2.
COUNT ONE HUNDRED THIRTY-TWO: (21 U.S.C. § 846 — Conspiracy to Distribute a Controlled
Substance/Possess a Controlled Substance with Intent to Distribute)

24. Fromat least in or about March 2014, up through and including the date of this

Indictment, in the Northern District of California and elsewhere, the defendants,

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VLADIMIR HANDL and
PAUL FINK,

and others known and unknown, unlawfully, knowingly, and intentionally combined, conspired,
confederated, and agreed together and with each other to distribute a controlled substance and to possess
a controlled substance with intent to distribute, to wit, cocaine, in violation of Title 21, United States
Code, Sections 841(a)(1) and (b)(1)(C).

All in violation of Title 21, United States Code, Section 846.
FORFEITURE ALLEGATIONS: (18 U.S.C. § 1963 — Proceeds and Property Involved in Racketeering;
18 U.S.C. § 982(a)(1) — Proceeds and Property Involved in Money Laundering; 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c) — Proceeds and Property Derived from Theft of United States
Property; and 21 U.S.C. § 853(a)(1) & (2) — Proceeds and Property Derived from Narcotics Offenses)

25. _ Counts One and Two of this Indictment are realleged, repeated, and incorporated by
reference as though fully set forth herein for the purpose of alleging forfeiture pursuant to the provisions
of Title 18, United States Code, Section 1963.

26. | Uponconviction of any one of the offenses alleged in Count One and Count Two, the
defendants,

(1) VLADIMIR HANDL,
(2) MICHAEL ROSE,
(3) PETER SCALISE,
(4) PML CLUBS, INC.,
(5) DAVID GAITHER, and
(6) JONATHAN FERRARO,
shall, pursuant to Title 18, United States Code, Section 1963, forfeit to the United States of America:
a. Any interest acquired and maintained in violation of section 1962;
b. Any interest in, security of, claim against, and property and contractual right of

any kind affording a source of influence over, any enterprise which the defendants established, operated,
controlled, conducted, and participated in the conduct of, in violation of section 1962; and

 . Any property constituting, and derived from, any proceeds obtained, directly and

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indirectly, from racketeering activity and unlawful debt collection in violation of 1962.

2 27. Counts Three to One Hundred Twenty-Nine of this Indictment are realleged, repeated,
3 || and incorporated by reference as though fully set forth herein for the purpose of alleging forfeiture
4 || pursuant to the provisions of Title 18, United States Code, Section 982(a)(1).
5 28. | Uponconviction of any one of the offenses alleged in Count Three to Count One
6 || Hundred Twenty-Nine of this Indictment, the defendants,
7 (1) VLADIMIR HANDL,
8 (2) MICHAEL ROSE,
9 (3) PETER SCALISE,
10 (4) PML CLUBS, INC.,
11 (5) DAVID GAITHER,
12 (6) JONATHAN FERRARO,
13 (7) EDWIN HETHERTON, and
14 (8) RICHARD LEYLAND,
15 || shall, pursuant to 18 U.S.C. § 982(a)(1), forfeit to the United States any property, real and personal,
16 || involved in said violations, and any property traceable to such property.
17 29. Counts One Hundred Thirty to One Hundred Thirty-One of this Indictment are realleged,
18 || repeated, and incorporated by reference as though fully set forth herein for the purpose of alleging
19 forfeiture pursuant to the provisions of Title 18, United States Code, Section 981(a)(1)(C) and Title 28,

20 || United States Code, Section 2461(c).

21 30. | Uponconviction of any one of the offenses alleged in Counts One Hundred Thirty and
22 |] One Hundred Thirty-One of this Indictment, the defendants, |

23 RICHARD LEYLAND and

24 EDWIN HETHERTON

25 || shall, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,
26 || Section 2461(c), forfeit to the United States any property, real and personal, which constitutes or is
27 || derived from proceeds traceable to said violations, and a conspiracy to commit said violations.

28 31. Count One Hundred Thirty-Two of this Indictment are realleged, repeated, and

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incorporated by reference as though fully set forth herein for the purpose of alleging forfeiture pursuant
to the provisions of Title 21, United States Code, Section 853(a)(1) & (2).
32. | Uponconviction of the offense alleged in Count One Hundred Thirty-Two of this
Indictment, the defendants,
VLADIMIR HANDL and
 PAULFINK,
shall, pursuant to Title 21, United States Code, Section 853(a)(1) & (2), forfeit to the United States all
right, title, and interest in property constituting and derived from any proceeds defendants obtained,
directly and indirectly, as a result of said violations, and any property used, and intended to be used, in
any manner and part, to commit, or to facilitate the commission of the said violations, and any property
traceable to such property.

33.  Ifany of the property described above, as a result of any act or omission of the

defendants:
| a. Cannot be located upon the exercise of due diligence;
Has been transferred or sold to, or deposited with, a third party;

c. Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value; or

€. Has been commingled with other property which cannot be divided without
difficulty,
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the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 18,

United States Code, Sections 982(b)(1) and 1963(m), and Title 21, United States Code, Section 853(p).
All pursuant to Title 18, United States Code, Sections 1963, 982(a)(1), and 981(a)(1)(C), Title

21, United States Code, Section 853(a)(1) & (2), and Title 28, United States Code, Section 2461(c).

 

 

on
DATED: 2/ 24), lS A TRUE BILL.
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V/OREPERSON

MELINDA HAAG

United States Attorney

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PHILIP A. GUENTERT

Deputy Chief, Criminal Division

(Approved as to form:

 

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